Case 4:24-cv-00988-P Document50-1 Filed 05/07/25 Pagelof83 PagelD 755

Exhibit 1

Appx. 001
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

Point Bridge Capital, LLC, §
Hal Lambert §
§
Plaintiffs, §

Vv. § Case No. 4:24-cv-00988-P
§
Charles Johnson, §
Defendant. §
§
§

DECLARATION OF WILL THOMPSON

I, Will Thompson, declare as follows. I am an attorney admitted to the State Bar of Texas
and this Court and a partner at the law firm of DLA Piper LLP. I am attorney of record for the
plaintiffs in the above captioned action. I am over the age of twenty-one years and am not a party
to this action. I have personal knowledge of the facts set forth in this declaration. I declare under
penalty of perjury that the facts stated in this document are true and correct.

1. Exhibit A attached hereto is a true and correct copy of the April 2, 2025 hearing
transcript in the matter Johnson v. Clearview ATI, Inc., No. 1:23-cv-2441 (S.D.N.Y. Apr. 2, 2025).
I did not obtain this document until after the plaintiffs’ motion to compel was filed.

2. Exhibit B attached hereto is an image attachment from an email that Charles
Johnson sent on Tuesday, April 29, 2025, copying the undersigned and copying among others,
Pittman_orders@txnd.uscourts.gov .

3. Exhibit C attached hereto is a true and correct copy of “Plaintiffs served their First

Set of Requests for Production” in this matter, which were served on January 31, 2025.

Appx. 002
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4. The pictures included in the Plaintiff's motion were downloaded from Johnson’s
social media and are unaltered in any way. Those pictures, along with their URLs, are included
below.

https://substack.com/@charlesjohnson/note/c-84960277

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Appx. 003
Case 4:24-cv-00988-P Document50-1 Filed 05/07/25 Page4of83 PagelD 758

https://charlesjohnson.substack.com/p/at-the-national-prayer-breakfastand

Charles Johnson's Thoughts and Adventures

At the National Prayer Breakfast...and In
Conversation and in Solidarity with My Middle
East Christian Friends

And'a much needed discussion of the "Jesus We Haven't Heard Yet"

CHARLES JOHNSON
p FEB, 2025

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https://charlesjohnson.substack.com/p/president-trumps-tariffs-tell-the

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5. Based on information from findagrave.com, the headstone for Charles Marden
Brockunier, which Johnson is posing in front of, is located at the Mount Auburn Cemetery in

Cambridge, Massachusetts. (See https://www.findagrave.com/memorial/259053093/charles-

marden-brockunier).

My name is Will Thompson, my date of birth is November 20, 1982, and my business
address is 1900 N. Pearl Street Dallas, Texas 75201, and USA. I declare under penalty of perjury
that the foregoing is true and correct.

Executed in Dallas County, State of Texas, on May 7, 2025.

/s/ Will Thompson
Will Thompson

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Exhibit A

Appx. 009
Case ApAa RY GRE88-P Document 50-1 Filed 05/07/25 Page10of83 PagelD 764

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

me ee ee ee ee ee ie i x
CHARLES JOHNSON,

Plaintiff,

Vv. 23 Civ. 2441 (KPF)

CLEARVIEW AI, INC., et al.,

Defendants.

Conference

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New York, N.Y.

April 2, 2025

12:20 p.m.
Before:

HON. KATHERINE POLK FAILLA,

District Judge

APPEARANCES

BERNARD V. KLEINMAN
Attorney for Plaintiff

GORDON REES SCULLY MANSUKHANT LLP
Attorneys for Defendants

BY: MALLORY J. BENNER
RONALD A. GILLER

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(Case called)

THE COURT: Mr. Johnson, is there something wrong with

the courtroom that causes the need to wear sunglasses, sir?

MR. JOHNSON: Yes. I have Fuchs disease, your Honor.

THE COURT: All right. Does that explain why you were

20 minutes late for the conference today?

MR. JOHNSON: It does. I got the last train after

meeting with some people, and got the last train and got here.

And it's very hard to see in New York. It's a very difficult

city to navigate when you're not from here, especially with bad

vision.

THE COURT: This conference has been scheduled for a

while. There's really no reason for you to be this late for

it, sir.

MR. JOHNSON: OK. Sorry.

THE COURT: Not looking very sorry.

All right. Mr. Kleinman, I'm taking appearances now.

MR. KLEINMAN: I'm sorry. Bernard Kleinman, on behalf
of Mr. Johnson.

THE COURT: All right. Thank you.

MR. KLEINMAN: Thank you, Judge.

THE COURT: Mr. Giller and Ms. Benner.

MS. BENNER: Good afternoon, your Honor. Mallory
Benner, from Gordon Rees on behalf of defendant Clearview.

THE COURT: Thank you so much.

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MR. GILLER: Good afternoon, Judge. Ron Giller, also
on behalf of the defendant.

THE COURT: Thank you.

As between the two of you, to whom should I be
directing my questions?

MS. BENNER: Me, your Honor.

THE COURT: Thank you so much.

Can I ask you to remain standing, Ms. Benner.

Ms. Benner and then Mr. Kleinman as well, thank you.

Ms. Benner, there are three issues on the docket for
today.

MS. BENNER: Correct, your Honor.

THE COURT: And the first is the issue of sanctions.

MS. BENNER: Correct.

THE COURT: And the second is the issue of discovery.

MS. BENNER: Correct.

THE COURT: And the third is the issue of a possible
motion to dismiss.

MS. BENNER: Correct, your Honor.

THE COURT: From your perspective, is there anything
else that I should be addressing with the parties today?

MS. BENNER: No, your Honor.

THE COURT: Mr. Kleinman, sir, from your perspective,
are there other things I should have on the agenda today?

MR. KLEINMAN: My client wishes to make a statement,

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as he has in the past.

Of the three issues that you mentioned, those are the
three legal issues that I think are before the Court -- my
request to file a 12(b) (1) motion and the two discovery issues,
Judge.

THE COURT: OK. And your client wishes to make a
statement when, sir?

MR. JOHNSON: As soon as possible.

MR. KLEINMAN: As soon as possible. Now or when we're
done, Judge.

THE COURT: All right. I'll let him do it now.

Please bring the microphone closer to you, sir --

MR. JOHNSON: Sure.

THE COURT: Go ahead, Mr. Johnson.

MR. JOHNSON: Do you need me to stand, or be seated's

fine?

THE COURT: I'11 let you be seated if you're having
difficulty --

MR. JOHNSON: Thank you.

THE COURT: -- with your vision and other things.

MR. JOHNSON: Yes. So thank you for your attention
today, and please accept my apologies. It's been a lot, this
whole -- this whole thing has been a lot.

So since we last saw one another, a lot of things have

happened at Clearview.

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THE COURT: I'm going to ask you to slow down just so
the court reporter and I --

MR. JOHNSON: Oh, of course.

THE COURT: Thank you.

MR. JOHNSON: Yeah. Sorry. Sorry.

THE COURT: Yes.

MR. JOHNSON: So since we last saw one another, a lot
of things have happened at Clearview, which, to my mind,
substantiate that I'm not a cofounder of the company. The CEO
has abruptly departed, and I'm sure you're aware of the recent
judicial ruling in Illinois that makes it appear that I'm not
and likely was never involved in the company beyond as a mere
investor. It really doesn't matter what I think my role within
the company is because if I were a shareholder, wouldn't I be
included among the list of people responsible for Clearview's
malfeasance, like in the Illinois case? But I'm not included
on that list. So I'd like your Honor's judgment on this matter
because it's a bit -- it's a bit confusing, to be honest, to
have one courtroom going in one direction and another going in
another.

So, you know, I've gone through a lot of things over
the years. I've had a lot of conversations with people about
this case. And after a lot of consultation, I think it's clear
that Clearview was right not to see me as a cofounder. I mean
its real cofounders told The Washington Post, and many other

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reporters for that matter, that I was never involved in the
company. And that's not strictly true.

THE COURT: Slow down, please.

MR. JOHNSON: Oh, sure. Forgive me.

That's not strictly true, because I was a shareholder
and I did help the company raise money. But I did that on
certain expectations that were not really true. They're not
really borne out. And I think that explains -- just, like,
logically I think that explains why I wasn't really able to
sell the products, because the agreement that we had really
wasn't really a real agreement. So I'm left with one of two
conclusions: Either I am a cofounder, in which case I should
be included on that list of people responsible for Clearview's
malfeasance, which would be really terrible for me given that I
had no role in the day-to-day operations of the company.

THE COURT: Slow down, please, sir. Thank you.

MR. JOHNSON: Sure.

Or I'm not one. And then it raises a lot of questions
about, you know, the -- my own communications with the company,
because if I'm -- you know, if I'm communicating with the
company based upon wrong assumptions, or some might even say
lies, about my status within the company, then it's really
unfair to the people who I've communicated with because they're
being compounded in that lie. You see?

So does that make sense?

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THE COURT: Well, in part. I want you to understand
what you think it does for this case, sir.

MR. JOHNSON: Well, I think it's extremely -- it makes
it either makes it extremely complicated or extremely simple,
so -- obviously that's up to your Honor's judgment, but you did
ask me my opinion.

THE COURT: No, I didn't.

MR. JOHNSON: Oh, sorry.

THE COURT: Let me be more specific.

MR. JOHNSON: Yeah, sure.

THE COURT: Your counsel advised me that you wished to
speak to me.

MR. JOHNSON: Yes.

THE COURT: I have let you speak to me.

MR. JOHNSON: Yes.

THE COURT: You've spoken about an Illinois case that
is not my case.

MR. JOHNSON: Yes, ma'am.

THE COURT: You've spoken about the possibility or the
concern about inconsistent findings, perhaps, among the courts.

MR. JOHNSON: Yes.

THE COURT: And I want to understand why you are
speaking to me this morning about the Illinois case and why you
are speaking to me this morning about the topics on which
you're speaking. I'm imagining that there's going to be "and

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therefore, X."

MR. JOHNSON: Oh, OK.

THE COURT: So --

MR. JOHNSON: Sure.

THE COURT: And therefore, what?

MR. JOHNSON: And therefore, it seems to me that the
judge in the Illinois case -- this case came out a few days
ago. It's fairly lengthy. I finished it last night, finished
reading it last night.

I think the logic of that case means that I'm not a
cofounder, and so if I'm not a cofounder, then certainly I
can't enter into promises with people or business relationships
with people if I'm not a cofounder. Right? Just logically.

MR. KLEINMAN: Judge, if I may intercede here for a
moment ?

THE COURT: Yes, sir.

MR. KLEINMAN: Thank you, your Honor.

I think also I wasn't aware of this Illinois case, and
I haven't read the decision.

THE COURT: Were you aware that your client was going
to speak about it this morning?

MR. KLEINMAN: Yes, I was. OK?

THE COURT: OK.

MR. KLEINMAN: I have not read the decision, but I
mean there's also -- if there was a decision in Illinois, in

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the district court, that found that Mr. Johnson was not a
founder or not a principal of Clearview, then there are
questions that I would need to look into -- whether the
contract that he executed with Clearview, which is the basis
for this litigation, whether he even had the capacity to enter
that contract, and if he did not have the capacity to enter
that contract, then I don't know. There may be questions about
whether there would be a basis for him breaching the contract
because he never had that capacity to begin with. So I mean
I'm working kind of in the blind here, Judge.

THE COURT: Yes.

MR. KLEINMAN: I think maybe we all are. But I don't
know what that decision was, and I'm not sure how it would
impact this litigation. When I raised the issue --

THE COURT: Just one moment, please, sir.

MR. KLEINMAN: Yeah, sure.

THE COURT: Obviously your client's claims are
withdrawn. It wouldn't change them. They're not being
reinstated. What you're suggesting, sir, is it would impact
the resolution of the counterclaims.

MR. KLEINMAN: Absolutely, Judge, because that's
purely based -- the only claim there was breach of contract.
There's no other claim in that counterclaim. It's a one-count
breach of contract. If my client never had the capacity to
enter that contract to begin with, then there's no way he could

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have breached the contract, because from the beginning, the
contract would have been void ab initio. But I don't know. I
haven't briefed this. I don't know what the law is. I don't
know if the law is different in Illinois or New York, or
wherever. But I just -- I'm just raising this as an issue that
is -- just came upon me, and I just, just want to just give you
some sense of what my position may be. OK?

THE COURT: Sir --

MR. KLEINMAN: I'm not committing myself.

THE COURT: No. That's obvious. Yes.

All right. Thank you.

Mr. Johnson, was there something you wanted --

MR. JOHNSON: Yes. It's terribly confusing, because
if -- if your Honor is not in agreement with the other judge,
whom I don't know -- I've never sat before her; I've never
spoken to her. If, if you're in conflict, I don't know what to
do, your Honor.

THE COURT: All right.

MR. JOHNSON: I mean it's very confusing, and I've
been trying to figure it out. And it leads to stress, which
triggers Fuchs. So this is why I'm kind of stuck here, if that
makes sense.

THE COURT: I understand.

MR. JOHNSON: OK.

THE COURT: I understand that that's your position.

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Thank you.

Ms. Benner, do you want to be heard on this issue?

MS. BENNER: Yes, your Honor.

THE COURT: OK.

MS. BENNER: Your Honor --

THE COURT: And I'll ask you the same thing. For
court reporter and judge, everyone please speak slowly and
clearly because the courtroom acoustics are horrible. Thank
you.

MS. BENNER: Thank you, your Honor.

THE COURT: Thank you.

MS. BENNER: I mean, first and foremost, this is not
before the Court. This is the first time we're hearing of
this.

THE COURT: Are you aware of this decision?

MS. BENNER: No, your Honor.

THE COURT: And I am not either. I have not read it,
because Mr. Johnson doesn't seem to realize I have 300 cases of
my own, and therefore, I'm not focusing on the decisions of
other judges. But certainly I will look into it. Had I been
advised, perhaps, before this moment, I would have looked at
it. So you don't know whether it applies or doesn't apply or
how it applies to this case.

MS. BENNER: No, your Honor, but at the same time, you
know, it's our position that it would be irrelevant anyway.

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This is a contract between the parties that Mr. Johns entered
into in his individual capacity. There's no reference to his
status as a cofounder or, you know, his involvement with
Clearview in the contract. It clearly states that he's --

THE COURT: Slow down, please.

MS. BENNER: It clearly states that he's entering into
the contract in his individual capacity. So we don't see how
it's relevant whether or not he's a cofounder and how that has
an impact on the counterclaims in this case.

THE COURT: All right. I understand that. And I'm
sure the folks at the front table hold a different view, and I
understand Mr. Johnson's view is one of trying to prevent
inconsistent findings, which I do understand.

All right, Mr. Johnson, sir, you know the most about
this case than any of this. What is the caption of the case,
please? Do you know the name of the case, the Illinois case?

MR. JOHNSON: I'm unfamiliar, but it's Judge Coleman,
is the woman's --

THE COURT: All right.

MR. JOHNSON: It's Sharon Coleman, and it's ACLU v.
Clearview.

THE COURT: ACLU v. Clearview.

MR. JOHNSON: It's a Northern District of Illinois,
and I've read it twice. I'm not a lawyer. I -- you know, I
took common law, barely. You know, I don't know. Forgive me.

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THE COURT: But, sir, you have an attorney.

MR. JOHNSON: Yeah, for -- obviously. But I've had it
looked at by a lot of friends who are attorneys and I've had
it -- I mentioned it to Bernie the other day. It just came out
a few days ago, your Honor. There's a lot of things going on
in it, from what I understand. It's been written about a lot
in the media and analyzed, so it's --

THE COURT: I guess what's confusing to me, sir -- and
of course, we'll find the case and be looking at it -- is how
the ACLU would be filing a lawsuit as to which your status or
not as a cofounder would matter.

MR. JOHNSON: Oh. This is why, your Honor. This is,
as I understand it, and forgive me if I'm mistaken, but this is
what I understand of it.

So the company is in trouble for a number of
malfeasance issues when it comes to breaking the law in terms
of privacy, being generally dishonest, some might even say
lying about other --

THE COURT: You realize everything you say, sir,
brings you closer and closer to sanctions.

MR. JOHNSON: I'm well aware. I'm just repeating what
is in -- from my interpretation of what's there.

THE COURT: I'm not sure the word "malfeasance" is
there. Is that in the decision?

MR. JOHNSON: I think it is, your Honor, but I'm not

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100 percent sure.

THE COURT: OK. We'll be looking for it.

MR. JOHNSON: Maybe we should all read the decision
and come back. Or I don't know, but --

THE COURT: All I'm saying is be careful how you
interpret things.

MR. JOHNSON: OK. So let me -- can I step back a
second?

THE COURT: Please.

MR. JOHNSON: OK. So if it is true that a company --
this is hypothetically. If a company is in trouble with
violating certain aspects of the law and certain aspects of
being truthful, then it stands to reason logically that they
might be not truthful in other matters as well. And maybe one
of those things that they're truthful on is whether or not I
was actually even able to enter into that contract in the first
place.

Do you follow my logic?

THE COURT: I do, sir, except once again, I can see a
world, a hypothetical, in which a lawsuit is brought against
Clearview but not against its founders. And therefore, I'm not
sure that that lawsuit resolves fully and finally the issue of
who the founders are or resolves the issue of your capacity to
contract as a cofounder of Clearview. But your colleagues at
the back table said to me that you entered into the contract in

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your individual capacity.

MR. JOHNSON: Right, but based upon the assumption
that I was, in fact, a cofounder.

THE COURT: But if it doesn't say that, I don't know
why -- that's what they're saying, and I'll have to look at the
contract --

MR. JOHNSON: Yes.

THE COURT: -- is that it was done, again, in your
individual capacity.

Just one moment, please, because I'm looking at it
right now.

The decision is In Re Clearview AI Inc. Consumer
Privacy Litigation. I see it's Northern District of Illinois,
case No. 21 Civ. 135, document 631, issued March 20, 2025. I
don't mean to make folks wait here, but let me just look at
this for a moment, please.

It is a class action settlement. In this action,

Mr. Ton-That and Mr. Schwartz are listed as the cofounders, and
Mr. Johnson is not listed as a defendant in this.

The word "malfeasance" is nowhere found.

MR. JOHNSON: Forgive me.

THE COURT: Ms. Noriega, could I trouble you to print
out a copy for the front table and the back table, please.

IT won't make you all read it, but I'm glancing at this
right now. What I understand this to be, and I could be proven

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wrong, is this is a final settlement of a class action. It's
the fairness hearing and the inquiry that one makes as part of
the settlement of a class action. I don't know, but I would be
surprised if there are actually findings about misconduct on
the part of Clearview, because often, class actions of this
type -- and it’s about access to biometric data. Certainly I'm
not seeing anything about foreign powers having an influence in
this, but to me, it's the fairness inquiry that I do when I do
a class action settlement.

For those of you who do not do these things, there are
factors regarding the fairness of the settlement and then there
are also factors regarding the fairness of an attorney's fee
award. That's what I'm seeing. I'm not sure.

MR. JOHNSON: As I -- if I --

THE COURT: Thank you, sir.

Mr. Johnson, I'm not sure it is dispositive of the
issue of whether you were or were not a cofounder. I just
don't know that. But OK.

We're talking about the same decision; yes, sir?

MR. JOHNSON: Yes, we are.

THE COURT: All right. I understand, and I'll give
everyone a copy. I don't think -- it might impact
Mr. Kleinman's discussion with me about the motion to dismiss
he wants to file. Maybe. I don't know, but we'll talk about
that.

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Appx. 025

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Let's move on to some other things. Mr. Johnson,
again, do I have everything you wanted to tell me about this
case?

MR. JOHNSON: Yes, ma'am.

THE COURT: OK.

MR. JOHNSON: If I may, just one final point, if
that's possible?

THE COURT: Yes, sir.

MR. JOHNSON: Well, it follows -- as I understand it,
this is a very unusual, novel application of the law. And from
what I read online about it -- forgive me. I'm -- again, I'm
not an attorney. You know, from -- but from what I understand,
and I've even taken it to, as I said, other attorneys and they,
too, are kind of -- that it's a very novel application of rules
around biometrics and tort law or in terms of class actions.
And you'll notice that in this particular case, from what I
understand, and I could be wrong about this -- again, I'm not
an attorney, but from what I understand, is that it's a very
novel case, and so because of that, I'd like to have it looked
at even more, given what implications it may have for this
case. And it seems to me that it likely would have some
applications to this case, because it seems likely that the two
cofounders -- I think they're named defendants in this, but I
could be wrong on that.

THE COURT: OK.

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MR. JOHNSON: And if they are, then it raises a lot of
interesting questions about this case and about how other
things are going to be paid for and, you know, all that.

THE COURT: But there is no admission of fault by
Clearview in this case. Correct?

MR. JOHNSON: I don't know.

THE COURT: I don't see one. It's a settlement, but I
don't see that there's an admission of liability. I don't see
that Clearview's saying we did wrong, and so I'm not sure.

I think we should stop at the moment hypothesizing at
the moment about how it might impact this case until everybody
gets to read it carefully, including the judge. You are of the
view that it might or indeed that it does. Your attorney would
like to know. The folks at the back table would also like to
know. I'm not sure, therefore, that it's useful to talk about
its applicability today --

MR. JOHNSON: Sure.

THE COURT: -- because I'm not going to take a break
to have us read it. So let's move on with other things.

MR. JOHNSON: Thank you, your Honor.

THE COURT: All right.

Ms. Benner, returning to you, please, on the issue of
sanctions, I have the letters that I have, and I don't
really -- if more has happened, I guess I want to know. If
more has not happened, I want the briefest of arguments,

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because you've already given it to me in writing, and I don't
want to waste everyone's time just repeating what's already in
writing, not to suggest time is being wasted.

Go ahead, Ms. Benner.

MS. BENNER: Sure, your Honor.

As far as we know, since our submissions, there hasn't
about this anything else that's brought to our attention, so as
of now, that's all we have. But with that, I know your Honor's
well aware, as we discussed at our prior conference, the Court
has inherent authority to issue sanctions for bad faith conduct
in this case. And here, plaintiff is clearly acting in bad
faith. He's intentionally violating court orders by placing
false harassing statements about defendants as well as defense
counsel.

THE COURT: Is my only basis inherent authority, or do
I have anything from the Rules of Civil Procedure?

MS. BENNER: Your Honor --

THE COURT: I'm just asking. I don't know. I'm
asking this, and this isn't a rhetorical question. I don't
know that this is a situation where Rule 37 would come into
play because it's somehow related to discovery.

Your view is it's inherent power.

MS. BENNER: Your Honor, with respect to these
statements, I believe it's just on the basis of inherent
authority, but there is the issue of sanctions for failure to

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comply with discovery that we'd like to address, as I'm sure
your Honor will address later in this hearing. But for the
purposes of just these statements, we're just going off of
inherent authority at this point.

THE COURT: All right. In the Rule 37 context, there
is a case that I know of -—- that is, Agiwal, and that tells me
to consider the willfulness of the noncompliance, the efficacy
of lesser sanctions, the duration of noncompliance and the
warning of consequences of noncompliance.

In the inherent powers context, is the analysis
different?

MS. BENNER: It's the same, your Honor.

THE COURT: It's the same. OK.

All right. So is that it on the issue of sanctions?
I didn't mean to cut you off.

MS. BENNER: No, no. It's OK, your Honor.

The only thing I just would like to note is I think
your Honor made very clear, especially with comments about
defense counsel, your Honor had told plaintiff, in person, that
any comments about defense counsel, no matter how benign, the
Court would take as a threat to intimidate and undermine the
Court's orders. And despite that being clear two months ago,
plaintiff did just that, and the comments were far from benign,
as I'm sure your Honor saw.

So we're here again today to request sanctions. This

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conduct has gone on for two years now, and despite multiple
warnings, in-person conferences, at this point we think there's
nothing left to do but to issue sanctions in this case.

THE COURT: All right.

Mr. Kleinman, you disagree.

MR. KLEINMAN: Well, I think as far as the issue about
any comments that Mr. Johnson may have made, I'm not sure if
any of them go beyond the point of him merely expressing
opinions which have already been made by third parties, like
Bloomberg Business, and so forth, about Clearview. I don't
recall if there were any specific comments about Mr. Giller
or --

THE COURT: "Giller is really mad that I've been very
politely but very firmly refusing to be gagged by him and his
firm. What part of 'I won't be gagged when I'm whistle-blowing
about a corrupt foreign-backed company' do you not get? God,
take the L, man."

MR. KLEINMAN: Take the what, Judge?

THE COURT: "Take the L,"™ the loss.

MR. KLEINMAN: Oh, oh. OK.

THE COURT: Take the L.

MR. KLEINMAN: Oh, I'm not --

THE COURT: You've got to be in on --

MR. KLEINMAN: -- up on the colloquialism.

THE COURT: That's to Mr. Giller; that's directed to

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him.

MR. KLEINMAN: That is directed to Mr. Giller, but I
don't know if it's --

THE COURT: "You should really withdraw from the case
with what's left of your reputation, but I think we both know
why you can't do that."

MR. KLEINMAN: You know, it's -- it's, it's not
something that I -- that I would ever do. Or it's not
something that a lot of people would do, but I think at the
same time, it's merely a party to the litigation venting some
frustration, and I don't know that there is any --

THE COURT: "Is Mr. Giller trying to throw the kitchen
sink at me now? Perhaps on behalf of a foreign government?
Gosh, I really hope not."

On behalf of a foreign government?

MR. KLEINMAN: Well, I don't know if he quite said it
that way, Judge. OK? I still -- I can read it, but I don't
know the --

THE COURT: Oh, please.

MR. KLEINMAN: -- intonation and so forth.

THE COURT: Don't. Don't. Don't.

MR. KLEINMAN: I just think --

THE COURT: To use your client's expression, "take the
L."

MR. KLEINMAN: All right.

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MR. JOHNSON: Your Honor, if I may?

THE COURT: No. You've said so much, sir.

MR. JOHNSON: Forgive me.

MR. KLEINMAN: No, but I don't know that those
statements actually merit a, some type of a sanction, and if
there was a sanction, I think there should be a -- sanctions
should be given in a, different levels: If you violate this
Sanction --

THE COURT: Agreed.

MR. KLEINMAN: -- then you're, you know, you're going
to get one whack. If you violate this sanction, then you're
going to get 18 whacks, anda third sanction, you'll get heel
holed.

THE COURT: Sir, we don't use that. OK?

Also, your client accused me of being part of a scam.

MR. KLEINMAN: Sorry, Judge?

THE COURT: And he's shaking his head now. He
believes me to be part of a scam.

MR. JOHNSON: It's not your Honor's fault. It's -- if
I may?

THE COURT: No. You've made your point, sir. You've

accused me of using my office to perpetrate a scam against you.

That seems bad. No. That's OK. That's what you wrote.

MR. JOHNSON: To be precise about it, if I can, a scam

that you may not be necessarily -- you may be the victim of it

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as well as I was.

THE COURT: Sir, I'm not nearly as stupid as you take

me to be. I myself do not feel as though I've been misled by

the defense team. I'm not part of anyone's scam.

MR. JOHNSON: Sure, but your Honor, we have many cases
now that are coming out -- you have Theranos, of Biome, of
WireCard -- in which counsel will sue. People are talking
openly and publicly about fraudulent conduct on behalf of
companies, and this is becoming a routine thing. It's
something that's talked about all the time at the SEC, and it's
a real concern, and so --

THE COURT: Mr. Johnson, where are your DHS agents?
They don't exist.

MR. JOHNSON: Your Honor, there's -- I believe, your
Honor -- and I checked on this -- there's over 300, 400 Alex
Rodriguezes in the Department of Transportation alone. And in
fact, I did --

THE COURT: You gave me Department of Homeland
Security.

MR. JOHNSON: I did.

THE COURT: There was one. One, sir.

MR. JOHNSON: Well, this is what he told me after he
and I spoke after this court proceeding last time. But I'm
happy to give the phone number again, and you're free to call
him.

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THE COURT: He's not a real DHS agent. He's only --

MR. JOHNSON: No. No.

THE COURT: One of them doesn't work for DHS. The
other one is effectively a security guard at an office.

MR. JOHNSON: No, your Honor. That's not -- that's
incorrect. And I will tell you, and I'm happy to -- we can put
them on the phone, you know.

THE COURT: Oh, no. I don't trust them enough to talk

to them on the phone. You gave me names. I went to the top

people at DHS, and they said they do not exist.

MR. JOHNSON: I don't think that's --

THE COURT: I went to DHS.

MR. JOHNSON: OK.

THE COURT: Sir, speaking of people being misled, it
may well be you, but the two names you gave to me, one was
not -- neither one was a DHS agent. One was not employed in
any capacity at DHS.

MR. JOHNSON: Yes.

THE COURT: And the other was the equivalent of a
security guard. He's not an agent of DHS and certainly would
not have the power to be a handling agent.

MR. JOHNSON: I don't think that's correct, your
Honor, but I'm happy to -- I'm sure it will come out, given
that this is all on the record.

THE COURT: All right.

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Mr. Kleinman, anything else you wish to say, sir?

MR. KLEINMAN: No, Judge.

THE COURT: Thank you so much.

Ms. Benner, anything in reply? It's fine if there
isn't at this time.

MS. BENNER: Your Honor, just one comment I'd like to
make.

Just the fact that, you know, Mr. Kleinman had made a
comment that these could be Mr. Johnson's opinion, his
statements. But your Honor made it clear, this is a court
order, not to make any statements about Mr. Giller, and
Mr. Johnson violated the court order. So in the interest of
the fairness of this litigation and ensuring judicial integrity
for this process, Mr. Johnson shouldn't be allowed to violate
court orders.

THE COURT: All right. Thank you.

Ms. Benner or Mr. Kleinman, who wants to speak on the
issue of discovery first?

MR. KLEINMAN: Ms. Benner can, Judge.

THE COURT: OK.

Ms. Benner, I believe the last thing I did was issue
an order that said that Mr. Johnson had to comply with his
discovery obligations. So where are we?

MS. BENNER: That is correct, your Honor, and since
then we have received nothing.

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THE COURT: And so my last order was, I believe,
according to my notes, March 13 --

MS. BENNER: Correct.

THE COURT: -- is that correct?

All right. Now let me understand where the parties
are right now. There was agreement as to search terms, but the
search term review has not been conducted.

MS. BENNER: Correct.

THE COURT: From your perspective, what else are you
anticipating?

MS. BENNER: Your Honor, we also -—- plaintiff was
supposed to give us supplemental responses to answers to
interrogatories, the written RPFs, the RFAs, all of which --

THE COURT: Slow down, please. Thank you.

MS. BENNER: Sorry.

-- all of which were outlined in your January 16
order. So essentially all of the discovery that was ordered
was not complied with.

THE COURT: All right.

Mr. Kleinman.

MR. KLEINMAN: Well, as far as the search terms, I
received search terms from counterclaimants' counsel, and I did
respond to those. OK? And I have questions about whether they
were too broad or some of them were just too general, and I
don't think any resolution was finally made as to what those

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search terms should be.

THE COURT: Why I'm confused, sir, is that in the
defense's letter of March 7, 2025, the note I have is that the
parties reached agreement on the search terms but that there
was an issue about performing the actual searches.

MR. KLEINMAN: Well, that too, also, the performing
the searches. But there are questions that I had raised about
some of the search terms that had not been resolved, as far as
I'm aware.

THE COURT: Oh, excuse me, because I had been told
that they have been resolved.

Just one moment, please, sir.

MR. KLEINMAN: Sure.

THE COURT: Thank you.

You'll excuse me while I fight with my computer.

Sir, docket entry 68, I believe, March 7, 2025, letter
from Mr. Giller and Ms. Benner, in the second paragraph:

"The parties conferred and have agreed upon a set of
search terms for plaintiff to use in searching for relevant
discovery. However, plaintiff is now refusing to conduct these
searches."

I don't believe he ever wrote in a letter saying,
wrong, Failla, we do not have agreement. So I've been
proceeding for the last month on the understanding that there
was agreement.

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MR. KLEINMAN: No --

THE COURT: Are you telling me there's not?

MR. KLEINMAN: -- anything indicating that the terms
were agreed upon.

THE COURT: But you did receive this letter --

MR. KLEINMAN: Yes, I did.

THE COURT: The letter I did.

MR. KLEINMAN: Yes.

THE COURT: OK. Let me imagine then that the search
terms have been agreed upon, because I wasn't told otherwise.

MR. KLEINMAN: I'm sorry to interrupt. Yeah, that's
fine. We can say that that's the question. I think the
question was more about actually effectuating those search
terms --

THE COURT: Agreed.

MR. KLEINMAN: -- was more the issue. I know you
issued an order, and I think you boldfaced it, that it was
defendants' responsibility to make those -- search -- to fund
that deep search.

THE COURT: Hold on. Hold on.

MR. KLEINMAN: Well, I may be paraphrasing.

THE COURT: Right, but --

MR. KLEINMAN: Look at memo endorsed. I think it's on
ECF 80.

THE COURT: Sir, I'm looking at my endorsement of the

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13th of March. It says, "plaintiff is ordered to comply with
the Court's January 16, 2025, order. Further, the Court finds
absolutely no basis for defendants to be forced to retain an
ESI vendor."

MR. KLEINMAN: That's what I'm talking about, Judge.

THE COURT: Yes, but that's the point. That means you
have to do it. They don't have to pay for it. It's got to
come from you.

MR. KLEINMAN: I understand that, Judge.

THE COURT: OK. All right.

MR. KLEINMAN: Well, I understand that, Judge. It's
got to come from the defendant Johnson. Got it.

THE COURT: No, sir. No, sir. There's a single
plaintiff, who is your client, anda single set of defendants,
who are the folks at the back table. So you had to comply and
they don't have to pay for it.

Now, I'm fine if you agree to let them set up a
separate team to review it so you don't have to. I believe
that's what they offered to do, but I want to understand how
this is going -- who is going to do this review? Because it
was supposed to be done by the 14th of March.

MR. KLEINMAN: Right, and hasn't been done. I
don't -- I mean if there is a separate team, then -- I mean
I've dealt with this, for example, in the U.S. Attorney's
Office, where there's a Chinese Wall created.

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THE COURT: Yes.

MR. KLEINMAN: And they observe, that separate team
has to observe certain requirements. And I haven't gone over
the details with Mr. Johnson, so I'm sure that that is a
possibility. OK?

THE COURT: Mr. Giller's giving me a strange face, so
I don't want to misstate what they said to me. Give me a
moment, please.

"Alternatively, if plaintiff's counsel would prefer to
send us the hard drive, we will conduct the agreed-to
searches."

I understood that to be with a taint team in place. I
did not think that Mr. Giller and/or Ms. Benner were going to
be doing the searches.

MR. KLEINMAN: I didn't -- I don't -- I can't make any
assumptions.

THE COURT: No, of course.

MR. KLEINMAN: OK?

THE COURT: What I'm saying, sir, is we're here
together, and somehow this material has to be reviewed and it
has to be produced. You or your client has to do it.

MR. KLEINMAN: OK.

THE COURT: The question is how are you going to do
it? And if the issue is you want to do it -- and we can talk
to your friends at the back table and see if they would put a

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taint team in place. Or if you just want to spend nights and
weekends doing it yourself, that's fine by me, but it's got to
be done.

MR. KLEINMAN: If you counted on me to do it, Judge,
this case would go on a long time.

THE COURT: No, no. You think that, but I have ways.

Mr. Giller, perhaps I'm misconstruing your facial
expression, sir. When you said that you would accept the hard
drive and do the searches, what then did you mean?

MR. GILLER: Your Honor, I apologize if my facial
expressions expressed anything other than disbelief to counsel,
not from your Honor.

What we meant is if they're refusing to do the
searches that you've now ordered them to do twice, we would
take the hard drive and the entirety of the database and do the
searches ourselves. We are not offering to pay anybody to do
it, because we shouldn't have to, and we're not offering to
have a separate team of people do it at my firm.

We are the ones with knowledge of the case and
involved in the case. If we have to because there's no other
way, because they're refusing to comply, then we'll do it.

THE COURT: I understand that. What I'm saying is --

Mr. Kleinman, it has to be done. Right? And I'm
trying to figure out how it can be done. I'm uncomfortable,
given that there may be attorney-client privileged information

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going to you two in the back, but I believe you could teach
somebody else in your firm to run searches with the terms and
to print out the responsive documents and to exclude the
attorney-client privileged stuff. I think you could do that.
Is it a pain? Absolutely. Would it get done? Yes.

MR. GILLER: Your Honor, if that's what the Court
directs, obviously we'll comply.

THE COURT: Well, what are my options? What are my
options?

Mr. Kleinman, what else is there to do?

MR. KLEINMAN: If my client can end up hiring a
third-party ESI firm to search using those search terms, I
assume that would be acceptable. I don't see any reason why
not.

THE COURT: That would be acceptable. Yes, but I
thought the point was that there were financial constraints --

MR. KLEINMAN: There are financial constraints,
obviously.

THE COURT: OK. But he's still willing to do that?

MR. KLEINMAN: I believe that it depends upon what the
cost would be, but I did not have a discussion with him and
might recommend that at the Court's direction.

THE COURT: Mr. Kleinman, it's already due.
Everything is already due. There's no excuse for this not to

have been produced. So I don't know. I feel like it's a

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little late in the day for him to be saying maybe he should

consider it and have a third-party ESI. Give me other options,

because right now you're in complete violation of my order.

MR. KLEINMAN: I understand that, Judge.

My client said that he would be willing to -- he will
hire an ESI firm and that they will get the documents, the
drive that I received from Alston & Bird, and they will use the
search terms that were agreed upon and provide that discovery.

THE COURT: Let me please ask this, and I'm asking
this of both sides. This idea of these ESI firms, it's not
something I did in practice and it's not something I've seen as
a judge. Are we talking about contract attorneys?

MR. KLEINMAN: No, no.

THE COURT: Are we talking about tech wizards? What
is the ESI -- I don't know what their competence is to do this.

MR. KLEINMAN: The firms, I've dealt with a firm like
this in a case in California, where they got massive amounts of
emails and documents. They were given these search terms and
then they produced the documents in a manner, and format that
would be acceptable under the federal rules. This is what they
do for a living.

THE COURT: Of course, sir. How do you make sure that
privileged information isn't disclosed? Do you get the first
cut?

MR. KLEINMAN: Yeah.

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THE COURT: Does it go to you first?

MR. KLEINMAN: Right. They would give me the first
cut. I would review it, make sure it didn't include any
documents -- part of the instructions would be, for example,
that any communications between Mr. Johnson and his prior
counsel and Mr. Johnson and myself would obviously be excised,
because they'd be subject to privilege. But any
communications, for example, that fit within -- they were
parameters of emails between Mr. Johnson and Mr. Ton, for
example. OK? Where there was -- they were not privileged, but
those would be available. Those would be provided.

THE COURT: All right.

Ms. Benner, your response.

MR. GILLER: If I may, your Honor?

THE COURT: Sir.

MR. GILLER: First, we're interested to hear that they
now agree that there were these search terms, because there
weren't.

THE COURT: Well, as far as I'm concerned, I've
already told Mr. Kleinman it's too late to tell me there wasn't
agreement.

MR. GILLER: OK. I just have two things about what
was just said.

One is we would like the ability to know in advance
which ESI firm they're proposing, and we're not going to object

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to any —-- any of a number of companies that do this for a
living. We work with many different companies. I don't have
any preference. I just want to make sure it's a legitimate
company that does discovery ESI for a living. That's my only
request with respect to that, that it's not some type of
business that does something else and is doing this as a favor
or a friend, or something else.

That's my first point. My second point --

THE COURT: No, no. We'll take your first point.

Mr. Kleinman, any objection?

MR. KLEINMAN: Mr. Giller has said that his firm's
dealt with a number of ESI third parties that do this. If he
wants to provide me with three or four that his firm has used,
we can eliminate that problem. I'm not asking my
brother-in-law or my wife to do this.

THE COURT: OK.

MR. KLEINMAN: I don't know if that was the inference,
but I did ask --

THE COURT: No, no. There was no inference. There
are firms he knows and firms he doesn't know. I'm sure he can
give you a list of many firms.

MR. GILLER: Judge, this afternoon, I'll send an email
with three names.

MR. JOHNSON: I would not feel comfortable with that,
your Honor. I would like to use whatever the standard one that

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is used by the courts.

THE COURT: There is no standard one.

MR. JOHNSON: If there's a list of them, I think the
list should be jointly provided.

THE COURT: By whom, sir?

MR. JOHNSON: By us and by opposing counsel.

THE COURT: Mr. Kleinman may know the one he used in
California.

Do you remember it, sir?

MR. KLEINMAN: Well, I remember the individual. I
remember the individual I dealt with. I mean I'd have to get
back in touch with him, and if he's still doing this. They've
been doing this for a long time. This firm's been doing this
for a long time.

THE COURT: Mr. Johnson, I'm confused. Your counsel
suggested, requested the three. Now you're saying no.

MR. JOHNSON: No, no. With respect, your Honor, I'm
sure there's lots of firms that do that. I'm not, I do not
feel comfortable with having opposing counsel make that list of
firms. I'm happy to use standard firms that are out there that
are maybe not the list that Mr. Giller provides. But I'm happy
to -- you know, I'm sure that there are ones that are out there
that may not necessarily be on his list. There could be 10,
20, 30, 40 firms. I'd like to do some research before I'm
comfortable agreeing to any firm.

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THE COURT: Then, Mr. Kleinman, Mr. Giller will get a
right of first refusal. You'll have to tell him who it is, and
if it's not a firm that was considered to be reputable, he'll
oppose and you'll bring it to me and I'll decide.

MR. KLEINMAN: Your Honor, I will provide that list to
Mr. Giller, and if anything -- the same thing as choosing a
mediator, an arbitrator.

THE COURT: Right.

MR. KLEINMAN: You get three. You choose one of them,
the one that you agree upon. That's the one you use.

THE COURT: Yes, I still think Mr. Giller should send
a list, if he would indulge me, because it might help the
process.

MR. KLEINMAN: Yeah, Judge. In fact, it probably will
help the process, because if it's a large firm that I've dealt
with in the past or I'm familiar with, then -- you know, I
mean, I don't think I would have a problem with it.

THE COURT: All right. But we know it's not your
brother-in-law. Thank you.

MR. KLEINMAN: No, it's not.

THE COURT: Mr. Giller, what's your second point?

MR. GILLER: My second point is just with respect to
privileged materials, your Honor. I would just ask that if
they're going to claim documents that are found using the
search terms, that they provide us with a privilege log at the

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same time.

THE COURT: Agreed. Anything that's removed will have
to be logged. Yes, I agree with that.

MR. GILLER: Thank you, your Honor.

THE COURT: All right. That's the discovery -- well,
partly.

Mr. Kleinman, that only gets us to the issue about the
production of ESI for which the search terms are hits. What

about the supplemental responses to the interrogatories, the

requests for admission, the reguests for production?

MR. KLEINMAN: I sent that request. I sent the -- I'm

sorry. 1 sent the -- I sent all the documents, the original

demands from Clearview's counsel and your order, and so forth,

to my client. I never received a response, Judge.

THE COURT: Hmm, that seems bad.

All right. You do understand -- you do understand,
Sir, because I know you've been here before; I know you've been
in this courthouse for decades -- that court orders should be
followed, right? You know that.

MR. KLEINMAN: Yes, I do.

THE COURT: Yes. Why can't my orders be followed,
sir?

MR. KLEINMAN: I'm just the lawyer, Judge.

THE COURT: No, no, sir. Ultimately you're on the
hook for this. Where are these responses, sir?

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MR. KLEINMAN: I asked my client to provide responses.
He did not provide the responses.

THE COURT: But is it not on you to cajole him, to
pressure him, to persuade him?

MR. KLEINMAN: I sent him more than one email
reminding him of his obligation, Judge.

THE COURT: OK. So this is the basis for sanctions
under Rule 37. OK. I understand. I just think it's
unfortunate. OK. Thank you.

Mr. Kleinman, actually, before you sit down, I think
we're moving now to the third topic, which is your motion to
dismiss.

Sir, I've understood, and I recently had to look into
this for another matter, that a statement in a pleading of an
amount in controversy in excess of $75,000 is presumptively
correct. So I don't know how you'd be able to rebut that
presumption in a 12(b) (1) context. Separately, I'd like you,
please, to respond to your adversary's contention that, in
fact, their compulsory counterclaim receives supplemental
jurisdiction by being a compulsory counterclaim.

MR. KLEINMAN: May I address those?

THE COURT: You may, please. Thank you.

MR. KLEINMAN: OK.

Merely stating and pleading what's in 1332(a) is not
sufficient under the cases that have been cited in this

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circuit, Judge.

THE COURT: The case that I'm looking at, sir, is
Scherer v. Equitable Life Insurance Society of the United
States, 347 F.3d 394 (2d Cir. 2003), that a statement of an
amount in controversy in excess of $75,000, there's a
rebuttable presumption of a good faith representation.

MR. KLEINMAN: Judge. If I can quote, it says, the
party invoking the jurisdiction of the federal court has the
burden of proving that it appears to a reasonable probability
that the claim is in excess of the statutory jurisdictional
amount, Security Plans Inc. v. Cuna Mutual Insurance, 769 F.3d
807, 814 (2d Cir. 2014). Where the plaintiff alleges damages
in a sum that exceeds the sum or value established by --

THE COURT: Slow down. For court reporter and judge,
please slow down.

MR. KLEINMAN: I'm sorry.

THE COURT: Thank you.

MR. KLEINMAN: "Where the plaintiff alleges damages in
a sum that exceeds the sum or value established by 28 U.S.C.
Section 1332(a), exclusive of interests and costs and is
lacking in additional details to support this assertion, it
constitutes a conclusory reference to 28 U.S.C. Section 1332 (a)
and fails to adequately establish that the amount in
controversy exceeds $75,000." That's Dawkins v. Carmack, 2023
U.S. Dist. LEXIS 35313 (S.D.N.Y. Mar. 2, 2023).

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I have three other cases that say exactly the same
thing -- that merely repeating that it will exceed 75,000 is
not sufficient under the statute. Otherwise, everyone would be
in this courthouse. You won't have 300 cases, you'll have
3,000, because people will realize all they need to do is
regurgitate the statute.

THE COURT: Of course, but I think one of those cases
that you were suggesting said if it was reasonably apparent
from the face of the complaint that the damages were in
excess --

MR. KLEINMAN: They're both --

THE COURT: They're going to suggest that want more
than $75,000 in damages for their counterclaims.

MR. KLEINMAN: I have no doubt they want more than
75,000.

THE COURT: I understand what you're saying. Could
you turn, please, to their argument that their counterclaim is
a compulsory counterclaim, and therefore, I have supplemental
jurisdiction.

MR. KLEINMAN: Well, first of all, their compulsory
counterclaim is based on Rule 13, and since there is no more
claim for my client, I don't know that Rule 13 applies anymore,
because his claim was completely dismissed.

THE COURT: There are multiple cases at page 2 of
their letter of March 20, 2025, showing that I retain

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supplemental jurisdiction even if plaintiff's claims are
dismissed.

MR. KLEINMAN: Also, Judge, there is -- if you read
their complaint, their counterclaim complaint --

THE COURT: Yes.

MR. KLEINMAN: -- the only time they mention damages
that they suffered is in their conclusory statement that it
exceeded $75,000. They don't say we lost business. They don't
say that we lost a contract with XYZ. They merely say that it
will be proven later on. And Judge, you know what rules are.
The issue of subject matter jurisdiction can be raised at any
time at all. There's, I believe, case law that says even after
verdict you can raise it, because if the Court doesn't have
jurisdiction, the Court doesn't have jurisdiction to begin
with.

THE COURT: Yes.

MR. KLEINMAN: And if look at their complaint, there's
no place in this complaint where they say as a result of
Mr. Johnson's breaching the contract clauses, we lost a
contract with ABC or something else happens specific that
caused our damages in excess of $75,000. And I, too, Judge,
have been in front of cases with a number of district court
judges, and with all due respect, Judge --

THE COURT: Oh, please don't ever say that.

MR. KLEINMAN: Sure.

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THE COURT: That usually is going to be followed by
something suggesting a lack of respect.

Just finish. Go ahead, sir.

MR. KLEINMAN: With all due respect, Judge, I had a
case recently in front of Judge Matsumoto, and the question
arose about my client satisfying the jurisdictional amount.
And she said, well, I'm not going to rule on that, but
Mr. Kleinman, you'd better provide me with some proof or some
offer of proof that the amount actually exceeded your client's,
that the damages exceeded that, and my client had to provide
some documentary proof to Judge Matsumoto that, in fact, the
amount could exceed 75,000.

We have nothing whatsoever that's been offered here.
And remember, all that's here is the, all that's here is the
breach of contract claim. There's nothing else. There's no
defamation, nothing else.

THE COURT: There is a defamation claim.

MR. KLEINMAN: That was withdrawn.

THE COURT: That was withdrawn.

MR. KLEINMAN: That was withdrawn. The amended
complaint only has and the two clauses that are cited are the
disclosure of the wind-down agreement and the clause about
impugning the company, and so forth. Well, there's no evidence
that says that, in the complaint that says as a result of
Mr. Johnson's actions, which they delineated with 20 or 30

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paragraphs, the -- you know, the Butte, Montana, police
department didn't sign a contract with us or we were refused
entry to some trade fair. Nothing at all. It's completely --
it's completely guesswork. It's not even guesswork. They're
just throwing that in in order to invoke the jurisdiction of
this court.

And Judge, I don't even know if they would have enough
jurisdictional amount to prove, to be in Civil Court at 111
Centre Street, because all it is is that we did this and we
lost business and that business exceeds $75,000. Well, in the
meantime, this is costing everybody a lot of time and money --
your time, the Court's time, my client's time and money, their
client's time and money. And there actually may be no damages
at all, and all I'm saying is I wish to be able to make that
motion in front of the Court. And if they can't provide any
proof that they have or any plausible explanation as to how my
client's actions exceeded $75,000 in damages -- that doesn't
include attorney's fees, as you know -- then the case should be
dismissed. And there's other courthouses they can go to. They
can go to 60 Centre Street or 111, you know, or go to Small
Claims Court, but there's a lot of other places besides this
building and your Honor.

THE COURT: All right. Thank you.

MR. KLEINMAN: Thank you, Judge.

THE COURT: And the back table, Ms. Benner.

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MS. BENNER: Your Honor, I just would like to focus
back on that first argument that we made in our letter, that
the fact that this counterclaim is a compulsory counterclaim
and that the Court can retain supplemental jurisdiction to hear
this counterclaim even though plaintiff's claims are dismissed.
As we've cited numerous case law from this circuit in our
letter, this is something that clearly can happen here, so I
think the fact that plaintiff has kind of disregarded this
argument should be considered by the Court, because that would
be dispositive of this motion in and of itself.

Moving on to plaintiff's second argument, that we've
not properly pled diversity jurisdiction under the law, first,
Mr. Kleinman focused specifically on the counterclaims action,
but he neglected to say that the Court can look at other
documents as well. In our initial disclosures, which we
included as an exhibit to our premotion letter, defendants
specifically stated that based on Mr. Johnson's breaches, they
suffered damage, harm to client relationships, investors. So
when you take that in combination with the allegations in the
complaint, where defendants make numerous examples and include
exhibits of statements that Mr. Johnson made that did violate
the wind-down agreement, clearly the amount in controversy has
been pled.

I also want to frame for the Court, too, the
position --

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THE COURT: I want to pause for a second.

Mr. Kleinman is contemplating a 12(b) (1) motion.
You're suggesting that this would not be a facial 12 (b) (1)
motion but fact-based 12(b) (1) motion, where I can consider not
merely the complaint but rather other things.

MS. BENNER: Yes, your Honor.

THE COURT: I see.

MS. BENNER: Under Second Circuit law, we found that
the Court can consider other things as well on this motion.

THE COURT: All right. Thank you.

Please continue.

MS. BENNER: Sure. So I think it's important to frame
with the Court, too, the positions of the parties here. We're
not talking about a small mom-and-pop shop here, where
plaintiff may have made a few comments to, maybe, some small
local news outlets or to people on the street. Clearview is a
massive company that's known worldwide. They contract with -—-
actually, almost all of their clients are governmental
agencies, police forces. And you have plaintiff, who was, you
know, going around telling people that he was a cofounder,
making these disparaging false statements about the company
that clearly have the potential to cause significant damage to
the company. You know, someone who maybe doesn't know the
company's history or Mr. Johnson's involvement could take his
comments at face value, saying, oh, you know, this gentleman

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who is a cofounder is saying that this is a criminal
corporation, the CEO is lying, you know, the company's not well
run, a whole slew of things. So I think that is important to
take into consideration in this counterclaim.

Mr. Kleinman also talks about how defendants did not
name any, you know, specific harm in this case, that any
investors lost or business opportunities, but I think it's
important to note that, as I said before, my client's contracts
are with government agencies. Their business is highly
confidential. This isn't information that we would put ina
public pleading or discuss at a public hearing. This
information would be exchanged under a confidentiality order in
the course of discovery. And as your Honor know, we're in the
thick of discovery. We haven't engaged in any depositions, no
experts. So you know, at this time --

THE COURT: There is no confidentiality order between
the parties as of this moment.

MS. BENNER: We did enter into one.

THE COURT: There was? With the Alston & Bird firm or
with Mr. Kleinman?

MS. BENNER: No. With Mr. Kleinman. I believe that
was filed with the Court, your Honor.

THE COURT: All right. I heard you say it would be
exchanged with a confidentiality stip, basically, but I thought
there was one. OK. Thank you.

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Go ahead.

MS. BENNER: There is one in this case.

So that's also a reason why that information was not
included in the pleading. But as your Honor said at the
beginning, you know, the defendant's burden for a pleading
under diversity and the amount in controversy is hardly an
onerous burden. All they have to show --

THE COURT: Slow down, please. Thank you.

MS. BENNER: -- is a reasonable probability that the
claims made 75,000, and we clearly have done so here.

THE COURT: All right. Thank you.

Mr. Kleinman.

MR. KLEINMAN: Yes. Couple of things, Judge.

THE COURT: Yes.

MR. KLEINMAN: In the initial Rule 26(a) disclosures,
the 26(a) (1) (A) (111), computation of damages, all I got from
defendants' firm was defendants are seeking damages due to
plaintiff's breach of the wind-down agreement as set forth in
defendants' counterclaim. Damages are based on harm to
reputation as well as harm to business and client
relationships. Defendants have sustained damages exceeding
$75,000. However, the exact amount of damages are unknown at
this time."

So in other words, the exact amount could be less than
75,000, because they're unknown.

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THE COURT: Except they said we don't know what it is,
we just know it's more than 75,000.

MR. KLEINMAN: Right. We don't know what it is, but
we think it's above 75,000. OK?

THE COURT: All right.

MR. KLEINMAN: Also, as far as the argument that
Clearview has secret agreements with other parties and they may
have lost business, they could have filed anything under seal
with the Court that would show that they've lost business as a
result of this. Nothing was presented.

THE COURT: Sir, when you file your motion, they may
choose to do just that.

MR. KLEINMAN: They may. I agree.

THE COURT: I want you to understand the skepticism
with which I'm viewing your motion. I can't stop you from
making it, sir, but I think they have a very strong argument
with respect to the compulsory counterclaim argument. But OK.

MR. KLEINMAN: We'll see.

THE COURT: Go ahead.

MR. KLEINMAN: I'm sorry, Judge.

THE COURT: That's fine.

MR. KLEINMAN: I just want to finish my argument. OK?

There's case law that repeatedly says that allegations
of damages, including conclusory statements that, quote, they
have suffered damages in the form of litigation and trial

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expenses and loss of income and damages to be set forth in the
future are insufficient. Maitland v. LAN, 2017 U.S. Dist.
LEXIS 40467, Eastern District of New York.

Also, as far as the issue about supplemental
jurisdiction, in Cohen v. Postal Holdings, 873 F.3d 394, 399,
Second Circuit discussion discussing Section 1367, said that
supplemental jurisdiction is only available if the Court
originally had jurisdiction. If you had no jurisdiction at the
very beginning of this case, then their counterclaim can't
bootstrap itself if their damages aren't less than $75,000.

THE COURT: I don't think they dispute that. Are you
suggesting that your complaint, or is this going back --

MR. KLEINMAN: Well, he has no complaint anymore.

THE COURT: Please. That argument doesn't work.

MR. KLEINMAN: OK.

THE COURT: The argument is if I did have it, if I had
jurisdiction when your client filed his complaint, then the
fact that the complaint was withdrawn doesn't deprive me of
jurisdiction.

I thought you were going elsewhere. What I thought
you were going to say was given all the uncertainty about this
Tllinois decision, maybe your client didn't actually have a
jurisdictionally filed the complaint. I just don't think
that's going to work. But I understand that that might make
its way into your argument; that's where I thought you were

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going.

MR. KLEINMAN: Yeah. I haven't read the decision in
Illinois. OK?

THE COURT: Yes.

MR. KLEINMAN: So I mean that is another issue. It
would be, I think, something that would be -- it might be a
12 (b) (1) because -- also, it's on the merits; it would be a
12(b) (6), I guess, that he didn't have authority to sign the
contract to begin with, so if he had no authority to sign the
contract -- but that's a matter -- I haven't looked into the
issue, so I don't want to be bound.

THE COURT: You haven't read the decision yet. I
understand.

MR. KLEINMAN: I haven't read the decision, and I want
to research the law.

THE COURT: JI hear you, sir. I cannot stop you from
filing this motion.

MR. KLEINMAN: I appreciate that fact, Judge. OK?
Because I don't make any assumption that judges can't do
anything. OK? You could make an order, and then I got to
follow it. OK? And honestly if you had done that, I would
have asked for permission of the 1292 to file an appeal with
the Second Circuit, because I really do feel, Judge, that their
complaint was drafted so that it does not satisfy 1332(a).
Merely saying our damages exceed $75,000 is -- does not satisfy

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the statute and that if a motion under 12(b) (1) is made -- and
I've had this before, maybe not before your Honor, but you've
said a lot of other judges, and I like to say, just show me a
little more. I'm not asking for the Encyclopedia Britannica,
but just show me something that shows that there might've been
a loss. Was there a contract canceled? Did you get kicked --
this case in front of Judge Matsumoto, my client showed me the
contract's canceled and that the other issue -- it's happened
in state court also, because I had a case in the, across, in
front of, in Brooklyn, OK, Brooklyn Supreme, where there, as
you probably know, they really never look at jurisdictional
amount; you just have to plead it. But I mean the issue was
raised, and I had to show to the judge that, wait a second, my
client has had contracts canceled, you know, as a result of the
actions of the plaintiff. And the judge said OK. So
sufficient basis to show that his damages exceeded $50,000.

So I'm not asking for a lot here, Judge, but if they
don't have anything that they can show, then it's purely
conclusory, and I don't think that this Court has jurisdiction.
And I think that we can all move on, the Court, myself and my
adversaries, to another court. Or as my client has offered
multiple times to settle this case.

THE COURT: All right. Thank you very much.

MR. KLEINMAN: Thank you, Judge. Thank you for the
time, Judge.

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THE COURT: Absolutely. I want to hear the full
expression of your arguments, and I certainly haven't prejudged
them, because I don't do that. I do want to go back, though,
because I'm still bothered by the discovery issue.

Ms. Benner, you heard me speaking with Mr. Kleinman.
You heard him say where things are with respect to what I'll
call the supplemental responses category.

What do you want? And I say that as a declarative
statement; there's no emotion in it whatsoever. What is it
that you want? Do you want him to be sanctioned monetarily?

Do you want a default judgment? Do you want me to find that he
has admitted everything in these documents? What is it that
you're seeking, please?

MS. BENNER: Sure, your Honor.

I mean the bare minimum, we definitely would like our
fees for having to come to the Court now on multiple occasions
to deal with these issues. As your Honor knows, we spent
significant time on these issues a few months ago. We've had
to write your Honor multiple times. We're here again on this
issue. So at a minimum we would definitely like our fees paid.

We also would like the answer stricken. We believe at
this point the plaintiff knows what his discovery obligations
were. Your Honor was very clear. The order was clear. After
we had a little bit of a dispute about him complying with the
order, we wrote your Honor. Your Honor again ordered him to

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comply, and he still hasn't complied. And after we discussed
it today and now he’s open to using an ESI vendor, but this
could have been resolved months ago without the need for your
Honor. But that's what we suggested, that he go to see an ESI
vendor to get these documents searched, and he didn't.
Unfortunately, then we had to come to court again to get any
sort of resolution on this. So for those reasons --

THE COURT: You want his answer stricken, his answer
to your counterclaims?

MS. BENNER: Correct.

THE COURT: All right. I hear the words. I
understand that. All right. Anything else? I don't mean to
cut you off.

MS. BENNER: No, your Honor.

THE COURT: Mr. Kleinman, tell me why that's crazy.

MR. KLEINMAN: Well, I think striking the answer would
be really egregious because it would remove from my client any
attempt to defend this action. OK? And I think that, again,
if your Honor, and it was deemed decided I filed my motion and
you decide that you deny it, OK, and whatever other
jurisdictional, whatever other procedural issues I might follow
as a result of that, and this does go through discovery and
there is a trial. And I just don't think, Judge, that they're
going to be able to show that they have the damages that they
wish to sustain. So I think that striking his answer is really

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egregious and goes beyond what's necessary here.

THE COURT: What is necessary, sir?

MR. KLEINMAN: Well --

THE COURT: There was a deadline. You've clearly
blown past it. You know that you have, and you haven't yet
given me a good excuse.

MR. KLEINMAN: I haven't given you a good excuse,
Judge, no. No.

I mean I could beg the Court's indulgence for an
additional ten days in which to respond, but that's entirely --
because that violates -- that's in violation -- well, that's
not in violation of the Court's order, but that currently
there's a violation of the Court's order, but that's --

THE COURT: I want to know how all depositions are
going to be done on or before April 11. That's not going to
happen.

MR. KLEINMAN: No.

THE COURT: No, because there's no discovery, because
it hasn't been produced.

MR. KLEINMAN: Right. And I don't know how that would
take place on or before April 11. And I haven't -- I think I
may have received a notice, the EBT notice, but there was no
date on it. So I mean it's obviously not going to take place.

THE COURT: Right, but that also seems bad.

My point, sir, is I do not know how to get you and

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your client to comply with my orders. I don't. That's where
we are.

MR. KLEINMAN: OK.

THE COURT: All right. We've been here a while. I
need about five or ten minutes, because we have a couple of
issues and I want to actually give you some decisions on these
issues. So I'm going to ask for your patience for about five
or ten minutes. My apologies to madam court reporter that
we're still here. Sorry.

Let me ask friends at the front table to order this
transcript. I'll be back as soon as I can. If you need to
stretch your legs in the five minutes, you can.

Thank you.

(Recess)

THE COURT: There are three issues for me to discuss
this afternoon, and I will discuss them in the order that we've
been talking about them, beginning with the issue of sanctions.

I've talked to the parties about the Agiwal case.

I've talked to counsel about the bases that I have, inherent
powers I have and other bases for sanctions here that I'm being
asked to impose based on inherent powers. And as I'm about to
describe, I will be imposing sanctions for the recent postings
of Mr. Johnson.

Let me say this. What I haven't really considered is
the exchange with the reporter, because I don't know precisely

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what was published. I believe it's behind a pay wall. And
while there are some unfortunate comments, I don't have enough
to think that it is worthwhile. But let me back up a moment
and talk about the issues that I've been wrestling with or at
least considering in the context of sanctions.

Mr. Kleinman has very wisely and consistently
discussed First Amendment issues, and I have thought about that
at some length. And that is why I have been as careful as I
have in the past. But the First Amendment does not foreclose
defamatory statements or court sanctions for them. It does not
protect against false statements to me, hate speech. And I do
believe it gives way when the statements are being used, as
they are here, to subvert and undermine the remaining
litigation before me. And to suggest, with no evidence and no
basis in reality, that somehow the litigation that Mr. Johnson
commenced is itself part of a broader scheme to silence
Mr. Johnson, in which this Court has been co-opted by the other
side to silence him, I think that's just ridiculous. I'm not
going to stand by and let Mr. Johnson poison the well of this
case, the jury pool and other things, by misstating what's
happening here.

This case is in bad enough shape because of his

conduct. The record is also clear that I've repeatedly tried

to prevent Mr. Johnson from digging himself into deeper holes.

I tried to talk to Alston & Bird. They tried to tame his baser

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instincts and to check his more racist and anti-Semitic

impulses. I've given him second, third, fourth chances. I've

tried to be as direct as I could. I've required in-person

appearance precisely so that I can tell him what is of concern

to me. Mr. Johnson does not care, and I've made clear today my

continuing frustration with plaintiff's complete refusal to

comply with my orders in this case.

Talking first about the first article, which I believe
was posted on February 20, it makes clear Mr. Johnson's
willfulness because he begins by explaining his lack of
intention from the start to abide by my orders. He made that
first clear in the first paragraph by discussing it and
directing it to me. He claims that it is because the public
has a right to know what is going on. But there's a decided
absence of any evidence of malfeasance, as he calls it. And
therefore, there's not much whistle-blowing going on here.
There is just innuendo and invective. There's a decrying of
Mr. Lambert. There's a decrying of Clearview's public
relations representative. There's a suggestion that I'm
somehow part of a scam.

Then there are quotes from a biometric update article
that repeats what I believe to be a wholly refuted statement,
that somehow you have handling agents who were operating at the
behest of DHS. Basically that whole article just sort of
throws out names, throws out some rumors and attempts to

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connect dots that cannot logically be connected. But even then
I warned plaintiff. I told him to adhere to my order. But did
he? No, of course not.

There's the March 5 article, and that's just a
complete return to old habits. Somehow a conversation about
Turkey became a declination of Mr. Giller, and to announce "I
won't be gagged when I'm whistle-blowing" is a wonderful
statement except for the absolute absence of evidence of
whistle-blowing. More than that, even if there were problems
with Clearview, and of course, I've seen no evidence of same,
there's absolutely no basis to go after Mr. Giller in the
article.

As you can tell from my discussions with Mr. Kleinman,
I especially loved the "take the L" comment, because that was
just A list projection. Mr. Johnson is either lying to me or
has been misled to an embarrassing degree about the information
he is receiving about Clearview. There's more mudslinging.
There's no point. There certainly is not proof of the foreign
influence that you ascribe to Mr. Giller.

So my problem has been that there has been just
consistent violation of my orders over a period of months
despite written warnings, despite oral warnings. And
therefore, unfortunately, my efforts to do something less than
sanctions have not worked, and sanctions are warranted.

With respect to the first article, which again, I

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believe, is dated February 20, I am imposing a monetary
sanction of $2,000 to be paid to defendants within 30 days. I
would consider halving that amount if the posting were removed
from SubStack, but I'm not pushing for its removal. I'm happy
to sanction him on that basis.

With respect to the March 5 posting, which came after
another warning from the Court, I am imposing a sanction of
$5,000 to be paid to defendants within 30 days. And I want to
make clear if there are additional postings that violate my
prior orders, the next set of penalties will be substantially
higher and almost certainly will involve a default judgment
against Mr. Johnson on the counterclaims or the striking of the
answer or some equivalent. The case will end.

With respect to the issue of discovery, I am again
just devastated because we had so many discussions. I wrote
that order myself, and I thought it was pretty clear. But
apparently it could not be abided by.

Mr. Kleinman, I will take your generous offer of ten
additional days from today -- I'll give you two weeks from
today, so ten business days -- to respond to the supplemental
requests of the parties.

With respect to the ESI schedule, I will reset that
schedule as follows:

May 16 is the date for the production of all documents
and discovery and for the production of the logs.

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June 6 is the date by which depositions are to be
completed.

Again, let me say this on the discovery issues.

Under Rule 37, I am well within my rights to impose
Sanctions here. I will do it in this manner:

If there are further violations of the discovery
schedule that I have just set, I will impose a monetary
sanction on plaintiff, if he is responsible for the discovery
violations, that approximate what I believe the legal fees are
for all of these discovery issues. And as well I will strike
the answer or I will enter a default judgment. That is, I
don't want to say a certainty because I don't like to box
myself in, but it is a near certainty that further discovery
violations and further violations of my orders will result in
default against Mr. Johnson in this case, because I've run out
of things that I can do to get him to abide by my orders.

That leaves us now with the 12(b) (1) motion.

Mr. Kleinman, I will, of course, let you file it, and
I will consider it very carefully, because you and I both will
be looking at the Illinois decision. My very thoughtful law
clerk, who has reviewed the decision while we've all been
talking -- because this conference has been that long -- is of
the view that it doesn't impact any of our matters, but we'll
find out. Maybe. Perish the thought, she could be wrong. I
doubt it, but she could be wrong. I will let you submit that

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motion, sir.

I just want to tell my friends at the back table, I
don't know what the motion's going to look like. And yes, I
will want a response from you, but I will understand if your
response is "see our premotion letter" or that it's just a cut
and paste of your premotion letter into another brief with a
few more sentences. I'll let him file it. I'll let you
respond as you see fit. I don't know. I need to see what is
submitted, but I'm just saying if you believe that a shorter
response is warranted, I will accept your shorter response.

Mr. Kleinman, sir, what time would you like to file
your motion papers, sir?

MR. KLEINMAN: I think I could have my motion filed by
the 11th of April, Judge.

THE COURT: OK.

MR. KLEINMAN: I would like to get this issue resolved
as quickly as possible.

THE COURT: Of course.

OK. Thank you, sir.

MR. KLEINMAN: And -- oh, sorry.

THE COURT: I was just going to ask for the
opposition. Was there something you wanted to say before I do
that?

MR. KLEINMAN: No, no, no. I mean I would assume
that -- I mean three weeks is the normal, but I don't know how

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much time, if they're just going to cut and paste their
letter --

THE COURT: Of course. I don't know. They, of
course, don't know what you're writing so they don't know what
they're responding to. But let me ask Ms. Benner.

Ms. Benner, how much time do you need to respond?
Three weeks? May 2?

MS. BENNER: Three weeks, your Honor.

THE COURT: May 2.

And then May 9 for reply, Mr. Kleinman.

MR. KLEINMAN: One week? Yeah, that's not a problem,
Judge.

THE COURT: OK. That's the motion to dismiss
schedule.

All right. Mr. Kleinman, sir, from your perspective,
is there anything that I have failed to address in today's
conference?

MR. KLEINMAN: JI don't believe so.

Just is there a date that you're going to want
everybody to come back, or do you want to wait and see what
happens, or what?

THE COURT: When I get the motion papers is when I
think I'd be setting the next conference, sir. I have some
dates here already. I've got dates for your motion to dismiss.
I've got dates for discovery.

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MR. KLEINMAN: Right.

THE COURT: And we'll probably do another order just
to get that out there in writing.

In terms of seeing the parties again, I think I'd like
to have the motion to dismiss fully briefed. And I'm going to
tell myself that there will be no problems in discovery so we
won't have to have you in for a conference on discovery
violations.

MR. KLEINMAN: Your mouth to God's ears.

THE COURT: Mr. Kleinman, just before you sit down,
Sir, is there anything that I have said this afternoon that is
in any way unclear?

MR. KLEINMAN: No. I believe that your schedule and
your decision is clear. I understand it. I might take
exception to the sanctions, but that's certainly within your
purview as an Article III judge to make that determination. I
do take exception on behalf of my client to the sanctions.

THE COURT: OK. Understood. Thank you.

Ms. Benner, have I omitted anything that you wanted me
to address this afternoon?

MS. BENNER: No, your Honor. Thank you.

THE COURT: And is there anything about any of the
decisions that I've made this afternoon that is unclear to you
or to Mr. Giller?

MS. BENNER: No, your Honor.

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THE COURT: OK.

MR. KLEINMAN: I'm sorry to interrupt, Judge. I have
a brief question.

THE COURT: Please, sir.

MR. KLEINMAN: On just a practical level, how would my
client pay the sanction? I mean do you know how that is --

THE COURT: I think it would be a check going to the
firm. Mr. Giller will accept a check.

Mr. Giller, how would your client like to receive this
money, or do you want to have that talk off-line with
Mr. Kleinman?

MR. GILLER: Any way other than bags of cash, your
Honor, would be fine.

THE COURT: Mr. Kleinman.

MR. KLEINMAN: I didn't understand.

THE COURT: Any way other than bags of cash.

MR. KLEINMAN: I won't respond to that.

THE COURT: No, of course you won't.

Mr. Kleinman, speak to Mr. Giller. He'll give you
whatever instructions you will need.

MR. JOHNSON: Your Honor --

THE COURT: Mr. Johnson.

MR. JOHNSON: If it's possible, I'd like to say
something very quickly. Is that --

THE COURT: Sir, yes.

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MR. JOHNSON: So, I just want to, you know, apologize
to the public and to the Court for being involved with this in
the first place.

THE COURT: All right.

MR. JOHNSON: I was stupid and wrong about a lot of
things in this case and about this company, and I should never
have filed, should never have gotten involved in this company.
And if I were a normal person I wouldn't have found myself in
this place in the first place, and I'd like that apology to be
on the record.

When I started this, I was pretty young, and I hope
age brings wisdom, but I know the Court's time is limited and I
know that every second I take on these stupid mistakes of my
own, that that's something that is addressed by other people.
And so I want to apologize.

THE COURT: Thank you, sir. It is on the record.

MR. JOHNSON: Thank you.

THE COURT: All right. Go forth, everyone.

Thank you very much.

(Adjourned)

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Exhibit B

Appx. 077
Case 4:24-cv-00988-P Document50-1 Filed 05/07/25 Page 78of83 PagelD 832
HOUSTONIAN MEDICAL ASSOCIATES
THE CENTER FOR PREVENTION
123 North Post Oak Lane Ste 420
Houston, TX 77024
(713) 680-2614

April 28, 2025

Re: Charles Johnson
DOB: 10/22/1988

To Whom It May Concern:

My patient, Charles Johnson, has an exacerbation of a debilitating medical condition that makes
it impossible for him to travel. | respectfully request that he be excused from reporting for his
scheduled court date between May and and August of 2025.

My recommendation is for: no travel between May and August 2025.

Thank you for your timely consideration in this matter. If you have any further questions regarding
the care of this patient, please do not hesitate to contact me at (713) 680-2611.

Sincerely,

Oy, uve
Jonn

Matocha MD

Appx. 078

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Exhibit C

Appx. 079
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Will Thompson

From: Charles Johnson <charles@traitwell.com>

Sent: Tuesday, April 29, 2025 2:35 AM

To: Thompson, Will

Ce: Pittman_Orders@txnd.uscourts.gov; Faulkner, Sherry; Bernie Kleinman

Subject: Re: Proposed Order FW: Activity in Case 4:24-cv-00988-P Point Bridge Capital, LLC v
Johnson Motion to Compel

Attachments: IMG_4144,jpeg

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Judge Pittman,

There are several problems with that order — several of the accounts mentioned either aren’t germane or
are inaccessible.

These matters were already handled elsewhere as my counsel can confirm.

Plaintiff is suing me in New York through Clearview and a lot of the material offered here would be
duplicative. We are signing an agreement with a service provider to provide ediscovery.

I’\L also be submitting a doctor’s note that | cannot travel. | am happy to be available through Zoom or
other electronic means. | have attached that doctor’s note.

| will also need additional time to secure local counsel. | request additional time.

Opposing counsel is also conflicted here from representing Plaintiff. My family trusts already employ DLA
Piper where opposing counsel works.

In the New York case my counsel filed a motion to dismiss which is before the judge there.
| believe there is also a motion to dismiss which is before your Honor as well.

Finally, Plaintiff also was recently affected by the ruling of yet another federal judge in Illinois which
made him as a board officer responsible.

Your Honor has requested that we do meditation but given that Plaintiff is subject to considerable
damages it’s unclear he has the resources.

Please advise,
Charles Johnson
617 429 4718

Sent from Proton Mail for iOS

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On Mon, Apr 28, 2025 at 18:28, Thompson, Will <will.thompson1@us.dlapiper.com> wrote:

Judge Pittman, Attached is the word version of the proposed order submitted in
conjunction with Plaintiffs’ First Motion to compel. The defendant, Charles Johnson, is
copied on this email.

Best,

Will

Will Thompson

Partner

From: ecf_txnd@txnd.uscourts.gov <ecf_txnd@txnd.uscourts.gov>

Sent: Monday, April 28, 2025 5:13 PM

To: Courtmail@txnd.uscourts.gov

Subject: Activity in Case 4:24-cv-00988-P Point Bridge Capital, LLC v Johnson Motion to Compel

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Case 4:24-cv-00988-P Document50-1 Filed 05/07/25 Page 82o0f83 PagelD 836
U.S. District Court

Northern District of Texas

Notice of Electronic Filing

The following transaction was entered by Thompson, William on 4/28/2025 at 5:12 PM CDT
and filed on 4/28/2025

Case Name: Point Bridge Capital, LLC vJohnson
Case Number: 4:24-cv-00988-P
Filer: Hal Lambert

Point Bridge Capital, LLC
Document Number: 43

Docket Text:
First MOTION to Compel Production of Documents filed by Hal Lambert, Point

Bridge Capital, LLC with Brief/Memorandum in Support. (Attachments: # (1)
Proposed Order) (Thompson, William)

4:24-cv-00988-P Notice has been electronically mailed to:

Bernard Kleinman (Terminated) attrnylwyr@yahoo.com

David Lattimore Evans evansdavidl\@msn.com

Lawrence J Friedman = lfriedman@fflawoffice.com, lfpara@fflawoffice.com,
lfsec@fflawoffice.com

William Bennett Thompson — will.thompson1@us.dlapiper.com,
sherry.faulkner@us.dlapiper.co, sherry.faulkner@us.dlapiper.com

William Carter Boisvert cboisvert@fflawoffice.com, nalmaleh@fflawoffice.com

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document the attorney/pro se litigant has filed with the court. The clerk's office will
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The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:

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[STAMP dcecfStamp_ID=1004035775 [Date=4/28/2025] [FileNumber=16270416-
0] [ad3046ad2b2562975ef73931 bO9dbO3aaf65d8e580fd5db09aeca7843947875332
93bec5bf6678507d 726693081 30f81 2a064ae5398456bde45bf7e22f2fda6b]]
Document description:Proposed Order
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1004035775 [Date=4/28/2025] [FileNumber=16270416-
1] [9b36a4590a08a3d 1bb44f27aacc7351 5ab7689e98d02ccaf2693a6d53c005afc84
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